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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF GEORGIA
                                      STATESBORO DIVISION

WALMART INC.,                                           *

                                                        *

        Plaintiff,                                      *


                                                        *

                  V.
                                                        *                    CV 623-040
                                                        •k
JEAN KING, in her official                              •k
capacity as Chief Judge of the                          ■k

Office of the Chief
                                                        ■k

Administrative Hearing                                  ■k
Officer, et al.,                                        •k


                                                        ■k
        Defendants.
                                                        k




                                                ORDER




        Presently pending before the Court is Plaintiff s motion for

preliminary injunction.                    {Doc.    7. )            The Parties agreed the Court

can     move      forward        with      analyzing                the     motion     for   preliminary

injunction and Defendants'                   response thereto as cross-motions for

summary judgment.                (Doc.     28,     at        1. )     For the following reasons.

Plaintiff's motion for summary judgment is GRANTED and Defendants'

motion for summary judgment is DENIED.




                                           I.    BACKGROUND


        On     June     16,    2023,       Plaintiff                filed     its    Complaint    against

Defendants,            seeking      ^^to   stop         administrative               proceedings        in    a

federal agency that are being conducted by an administrative law

judge        [ (^^ALJ") ]     who    is    unconstitutionally                       shielded     from    the

President's         supervision."                (Doc.         1,    at     2. )    The   Department         of
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Justice's     C'DOJ")      Office    of     the    Chief     Administrative      Hearing

Officer {'"OCAHO") is determining whether to impose civil penalties

against Plaintiff for alleged violations of immigration-related

recordkeeping       requirements (the            ^^Underlying      ALJ Proceedings").

(Id.)    Chief      ALJ    Jean     King,    a    Defendant,       presides    over   the

Underlying ALJ Proceedings and ^'is an executive officer whom the

Attorney General may not remove except ^for good cause as establish

and determined by the Merit Systems Protection Board [(^"MSPB")].
                                                                ' "

(Id. (quoting 5 U.S.C. § 7521).)                   Plaintiff alleges that under

Supreme Court precedent, this scheme violates the Constitution.

(Id.)   Plaintiff asserts that OCAHO ALJs are unconstitutionally

insulated    from    presidential         control       by   two   levels   of   removal

protection.     (Id. at 3.)         Plaintiff believes the remedy for this

unconstitutional          scheme     is     to     enjoin     the     Underlying      ALJ

Proceedings and declare them unlawful.                   (Id.)

     The same day Plaintiff filed its Complaint, it moved for a

preliminary injunction, asking the Court to enjoin Defendants from

proceeding    with    the     Underlying          ALJ   Proceedings.          (Doc.   7.)

Defendants filed a response in opposition (Doc. 18), Plaintiff

filed a reply brief (Doc. 20), and Defendants filed a sur-reply

(Doc. 24).    On August 28, 2023, the Court conducted a hearing and

heard argument from both sides on the preliminary injunction.

(Doc. 27.)    Based on this, the motion has been fully briefed and

is ripe for the Court's review.             After discussion during the August

28, 2023 hearing, the Parties agreed to allow the Court to treat
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Plaintiff's motion for preliminary injunction as a motion for

summary judgment, and to construe Defendants' response to the

motion for preliminary injunction as a cross-motion for summary

judgment.    (Doc. 28, at 1.)        Based on the following, the Court

grants    summary   judgment   in   favor       of   Plaintiff,   and   issues   a

permanent   injunction   enjoining        the    Underlying    ALJ    Proceedings

pending against Walmart.




                           II. LEGAL STANDARD


     Under Federal Rule of Civil Procedure 56, a motion for summary

judgment is granted "'if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law."        Fed. R. Civ. P. 56(a).          ""An issue of

fact is    ^material' if . . . it might affect the outcome of the

case . . . [and it] is ^genuine' if the record taken as a whole

could lead a rational trier of fact to find for the nonmoving

party."    Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1259-60

(11th Cir. 2004) (citations omitted).            The Court must view factual

disputes in the light most favorable to the non-moving party,

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

587 (1986), and must draw ^'all justifiable inferences in [the non-

moving party's] favor."        United States v. Four Parcels of Real

Prop., 941 F.2d 1428, 1437 (11th Cir. 1991) (en banc) (internal

punctuation and citations omitted).              The Court should not weigh

the evidence or determine credibility.               Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 255 (1986).      However, the nonmoving party ^^must

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do more than simply show that there is some metaphysical doubt as

to the material facts."            Matsushita, 475 U.S. at 586 (citations

omitted).       A mere ^"scintilla" of evidence, or simply conclusory

allegations, will not suffice.         See e.g., Tidwell v. Carter Prods.,

135 F.Sd 1422, 1425 (11th Cir. 1998).

       ''Parties may not, by the simple expedient of dumping a mass

of evidentiary material into the record, shift to the Court the

burden    of    identifying    evidence      supporting        their    respective

positions."      Preis v. Lexington Ins., 508 F. Supp. 2d 1061, 1068

(S.D. Ala. 2007).        Essentially, the Court has no duty "to distill

every    potential      argument    that   could   be   made    based    upon    the

materials before it on summary judgment."               Id. (citing Resol. Tr.

Corp. V. Dunmar Corp., 43 F.3d 587, 599 (11th Cir. 1995)).

       That this matter comes before the Court on cross motions for


summary judgment does not alter the Court's standard of review,

"but simply      requires a    determination       of   whether either of the

parties deserves judgment as a matter of law on the facts that are

not disputed."       United States ex rel. Saldivar v. Fresenius Med.

Care Holdings, Inc., 972 F. Supp. 2d 1339, 1341 (N.D. Ga. 2013)

(citing Am. Bankers Ins. Grp. v. United States, 408 F.3d 1328,

1331    (11th    Cir.    2005)).      Accordingly,      each    motion    must   be

considered "on its own merits, resolving all reasonable inferences

against the party whose motion is under consideration." Id.                      As

the Eleventh Circuit has held:


       Cross-motions  for summary judgment will not,  in
       themselves, warrant the court in granting summary
       judgment unless one of the parties is entitled to
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       judgment as a matter of law on facts that are not
       genuinely disputed. . . . Nonetheless, cross-motions may
       be probative of the non-existence of a factual dispute
       when [ ] they demonstrate a basic agreement concerning
       what legal theories and material facts are dispositive.

United States v. Oakley, 744 F.2d 1553, 1555-56 (11th Cir. 1984)

(quoting Bricklayers Int'l Union, Loc. 15 v. Stuart Plastering

Co., 512 F.2d 1017, 1023 (5th Cir. 1975)).




                                  III. DISCUSSION


       Article II grants the President the executive power of the

government, ""including the power of appointment and removal of

executive officers - a conclusion confirmed by his obligation to

take care that the laws be faithfully executed."                Myers v. United

States,      272   U.S.   52,   163-64   (1926).    The   President    must   have

removal power ""to keep [executive] officers accountable," as well

as to promote democratic accountability so that the public can

""pass judgment on the [President's] efforts."             Free Enter. Fund v.

Pub.   Co.    Acct.   Oversight    Ed.,   561   U.S.   477,   483,   498   (2010).

Without that power, the President cannot ""take care that the laws

be faithfully executed."            Myers, 272 U.S. at 164.          Because the

President's officers must remain accountable to him, the power to

appoint inevitably includes the contrary power to remove.                     Free

Enter. Fund, 561 U.S. at 483.             If the President could not remove

his officers, then ""a subordinate could ignore the President's

supervision and direction without fear, and the President could do
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nothing about it."        PHH Corp. v. CFPB, 881 F.3d 75, 168 {D.C. Cir.

2018) (Kavanaugh, J., dissenting) (citation omitted).

     The President's removal power is not absolute.                There are two

narrow exceptions to Article II's requirement of unrestricted

removal.       Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2192 (2020).

First, certain principal officers, whose direct supervisor is the

President;      and     second,      certain     inferior    officers,    who     are

^Mirected and supervised at some level by others who were appointed

by Presidential nomination            with the advice and consent of the

Senate."       United States v. Arthrex, Inc., 141 S. Ct. 1970, 1980

(2021) (citation omitted).            "These two exceptions . . . represent

what up to now have been the outermost constitutional limits of

permissible congressional restrictions on the President's removal

power."     Seila Law, 140 S. Ct. at 2200 (citation and quotation

marks omitted).

     Plaintiff argues OCAHO's ALJs are officers that fit neither

exception to unrestricted removal under Article II, so the removal

scheme that protects them is unconstitutional twice over.                       (Doc.

7, at 10.)       Defendants argue that since the ALJs are inferior

officers,      "there    is   no   specific     constitutional    impediment      to

congressionally imposed restrictions on the President's removal

powers."    (Id. (quoting Morrison v. Olson, 487 U.S. 654, 689 n.27

(1988)).)        Plaintiff     disputes     this    characterization,     arguing

unlike    in    Morrison,      the    two      levels   of   good-cause   removal
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restrictions in place for OCAHO ALJs obstruct the                     President's

control of them.       (Doc. 1, at 11.)     The Court agrees with Plaintiff.

        The Parties do not dispute OCAHO ALJs are "inferior officers"

under Article II.       (Doc. 18, at 10.)      ALJs may generally be removed

"by' the agency in which the [ALJ] is employed only for good cause

established and determined by the [MSPB]."                 5 U.S.C, § 7521(a).

In turn, members of the MSPB "may be removed by the President only

for    inefficiency,     neglect   of duty,    or    malfeasance in      office."

5 U.S.C. § 1202(d).        This statutory scheme creates a multilevel

protection from removal, which "is contrary to Article II's vesting

of the executive power in the President."                 Free Enter. Fund, 561

U.S.    at   484.     Congress   cannot "commit[] substantial executive

authority to officers" who are shielded by "two layers of for-

cause removal" protection.           Id. at 505.         Such double insulation

"not only protects [the          officer] from       removal except for       good

cause, but withdraws from the President any decision on whether

that good cause exists" in the first place.                    Id. at 4 95.   This

sort of "diffusion of accountability" is precisely what the Framers

sought to prevent.       Id. at 497; see Seila Law, 140 S. Ct. at 2203.

        Defendants     argue     Congress    can     lawfully      restrict     the

President's ability to remove OCAHO ALJs because they only perform

adjudicatory functions.          (Doc. 18, at 11.)        They argue these ALJs

cannot    initiate     investigations,      bring    enforcement     actions,   or

enact    rules   or   regulations,    so    they    do   not   have "substantial

executive authority" like the Public Accounting Oversight Board
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(^'PCAOB")   in   Free   Enter.   Fund,    (Id.   at   11,   15.)   Plaintiff

contends this is a mischaracterization of the OCAHO ALJs because


they "exercise sweeping investigatory and enforcement powers over

private parties engaged in adversarial adjudications," "determine,

on a case-by-case basis, the policy of an executive branch agency,"

"establish DOJ policy through case-by-case construction of federal

immigration laws, impose civil penalties on private parties, and

wield broad supervisory authority in a manner akin to a federal

district judge."      (Doc. 7, at 12; Doc. 20, at 11.)

       While the Court recognizes the distinction Defendants try to

draw between ALJs and other groups like the PCAOB, the issues with

the OCAHO ALJs' authority cannot be overlooked.          ALJs assess fines,

penalties, and even forfeitures against private parties on behalf

of the government.       And they are doing so without supervision as

required by Article II.           As relevant here, the OCAHO ALJs are

determining whether to impose civil penalties against Plaintiff

for    alleged    violations      of   immigration-related     recordkeeping

requirements.     (Doc. 7, at 3.)       Thus, the OCAHO ALJs are carrying

out a function of the government, specifically Immigration and

Customs Enforcement ("ICE"), to determine the validity of ICE's

charges against Plaintiff.         (Doc. 1, at 5.)      Not only is this an

adjudicatory function, but they can also assess fines and penalties

based on their findings, and they are carrying out executive power

by enforcing federal law.          See City of Arlington v. F.C.C., 569

U.S. 290, 304 n.4 (2013) (holding that even when executive officers
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^'conduct adjudications," the activities are ^'exercises of . . .

the executive [p]ower"); see also Lucia v. S.E.C., 585 U.S. 237,

241 (2018) (holding that ALJ adjudication is ''one way" an agency

can enforce the nation's laws).                Just because Free Enter. Fund

specifically examined an "inferior officer [who] determines the

policy and enforces the laws of the United States," that did not

limit its practical effect.             561 U.S. at 484.       This is especially

true   in   light    of    the   fact   the    PCAOB    did   in    fact    carry   out

adjudicative functions as well.               Id. at 530-31.

       Ultimately, the Court finds the multilevel protection from

removal present for the OCAHO ALJs is contrary to Article II, and

contrary to the executive power of the President.                        The current

statutory     scheme      unconstitutionally       "subverts       the     President's

ability to ensure that the laws are faithfully executed - as well

as the public's ability to pass judgment on his efforts."                      Id. at

498.     It   is    therefore     "incompatible        with   the    Constitution's

separation of powers" and cannot stand.                Id.   Congress cannot force

parties, such as Plaintiff, to have their legal rights adjudicated

by inferior officers that carry out the President's executive power

without oversight.          Thus, the Court GRANTS summary judgment to

Plaintiff and finds the DOJ's OCAHO ALJs are unconstitutionally

doubly insulated from removal by the President.                Defendants' cross-

motion for summary judgment is therefore DENIED.                     The Court now

turns to whether a permanent injunction is an appropriate remedy

for this unconstitutional structure.
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        To obtain a permanent injunction, the party must show ""(1) it

has suffered irreparable harm; (2) remedies at law will not provide

adequate compensation for the injury; (3) on balance, an equitable

remedy is          warranted; and        (4)   a    permanent injunction            will not

disserve the public interest."                     W. Va. by & through Morrisey v.

U.S. Dep't of the Treasury, 59 F.4th 1124, 1148 (llth Cir. 2023)

(citation          omitted).          While    the    Parties'         originally      framed

arguments          for    a    preliminary     injunction,        the    Court      uses   the

arguments in its analysis.                ''^The district court can exercise ^a

range    of    choice'         when   deciding      whether   to       grant   a    permanent

injunction, so long as it does not misapply legal standards or

rely on clearly erroneous facts."                    Id. (citation omitted).

      As      to    the       first   element,      the   Court    found,      in    granting

Plaintiff          summary       judgment,         that    Plaintiff       prevailed        in

establishing the violation of a constitutional right by having to

take part in administrative proceedings conducted by an ALJ that

is unconstitutionally shielded from the President's supervision.

As a result. Plaintiff is suffering an irreparable harm because it

is being exposed to an unconstitutional adjudication.                              Defendants

argued this was not an irreparable injury sufficient to establish

emergency relief, but now that the harm has been confirmed, this

argument is less persuasive.                   (Doc. 18, at 7.)           As the Supreme

Court explained in Axon Enter., Inc. v. F.T.C., being subjected to

illegitimate proceedings, led by an illegitimate decisionmaker, is

a   ^"here-and-now"            injury   and    impossible         to    remedy      once   the

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proceeding is over.         598 U.S. 175, 191 (2023) (quoting Seila Law,

140 S. Ct. at 2196).        Thus, the first element is satisfied.

     As to elements two and three, the Court heard argument from

both sides on a potential remedy if it found the OCAHO ALJs to be

unconstitutional.         Both   sides     touched      on   the   possibility     of

severability, and how a severed statute would function, or whether

it would match Congress's intent.              The Supreme Court's ^'presumption

of severability supplies a workable solution - one that allows

courts    to   avoid     judicial   policymaking        or   de    facto   judicial

legislation in determining just how much of the remainder of a

statute   should    be    invalidated."          Barr   v.   Am.   Ass'n   of    Pol.


Consultants, Inc., 140 S. Ct. 2335, 2351 (2020).                   That said, the

Court finds severability is not the proper solution here.                   In line

with Barr, the Court focuses on the Judiciary's confined role in

the separation of powers.           Id.    The Court seeks a solution that

"manifests the Judiciary's respect for Congress's legislative role

by keeping courts from unnecessarily disturbing a law."                    Id.     In

line with this principle, the Court finds the best solution is a

permanent      injunction    instead      of     severability.       Rather      than

interfering with Congress's legislative role by trying to re-work

the statutes in place, the Court finds on balance, an equitable

remedy is more favorable.        With this solution, the unconstitutional

actions are stopped for Walmart, and Congress is left with the

ability to remedy the problem as it pleases.




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        Finally, as to element four, the Court finds a permanent

injunction will not disserve the public interest.                          As outlined

above, enjoining the unconstitutional adjudication that is taking

place preserves the President's Article II power and ensures that

officers are held accountable to the President.                        Thus, all four

elements weight in favor of granting a permanent injunction.

        As such, the Court finds Defendants are PERMANENTLY ENJOINED

from     directly    or   indirectly      continuing        the    Underlying       ALJ

Proceedings conducted by the DOJ's OCAHO to determine whether to

impose civil penalties against Walmart for alleged violations of

immigration-related recordkeeping requirements.                    The Court shall

retain    jurisdiction      of    the   Parties       for   the    purpose     of   any

proceedings to enforce the Permanent Injunction.



                                  IV. CONCLUSION


       Based on the foregoing, IT IS HEREBY ORDERED that Plaintiff's

motion    for   preliminary       injunction,    construed        as   a   motion   for

summary judgment (Doc. 7) is GRANTED and Defendants' motion for

summary judgment (Doc. 18) is DENIED.                 The Clerk is DIRECTED to

ENTER    JUDGMENT   in    favor    of   Plaintiff      under   the     terms   of   the


Permanent       Injunction,      TERMINATE      any    remaining        motions     and

deadlines, and CLOSE this case.




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    ORDER ENTERED at Augusta, Georgia, this                  lay of March,

2024.




                                                             JUDGE
                                 UNITED S ^ATES   DISTRICT   COURT
                                 SOUTHERN   DISTRICT OF GEORGIA




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